                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

    In the Matter of:
                                                      }
    SARAI SERVICES GROUP, INC. 1                      }
    EIN: XX-XXX2969                                   }    Case No. 18-82948-CRJ-11
                                                      }
                                                      }    Chapter 11
                                                      }
                                                      }
                                    Debtor(s)         }


           ORDER APPROVING FIRST AMENDED DISCLOSURE STATEMENT
      OF DEBTOR CM HOLDING, INC.; SCHEDULING CONFIRMATION HEARING;
     FIXING TIME FOR OBJECTING TO CONFIRMATION AND TIME FOR FILING
                   ACCEPTANCES OR REJECTIONS OF PLAN

          This case came before the Court on October 23, 2019 for hearing on the First Amended

Disclosure Statement of Debtor CM Holding, Inc. pursuant to Section 1125 of the Bankruptcy Code

with respect to Debtor’s Plan of Reorganization, ECF No. 333, dated October 14, 2019 (hereinafter the

“First Amended Disclosure Statement”). Appearing at the hearing were Tazewell Taylor Shepard,

IV, Esq., counsel for the Debtor, and Richard Blythe, Esq., counsel for the Bankruptcy

Administrator.

           The Court finds that the First Amended Disclosure Statement contains adequate

information regarding the Debtor’s First Amended Plan of Reorganization (the “Plan”) as required

under 11 U.S.C. § 1125.

          IT IS THEREFORE ORDERED, ADJUDGED and DECREED as follows:

          1. The First Amended Disclosure Statement, ECF No. 333, is hereby APPROVED.



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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-892949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No.
18-82951-CRJ-11.




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       2. Pursuant to Rule 3017(c), a hearing on Confirmation of the Plan will be held on

           Thursday, December 19, 2019 at 11:30 a.m. before the Honorable Clifton R. Jessup,

           Jr. at the United States Courthouse, 400 Well Street, Decatur, AL 35601.

       3. Pursuant to Bankruptcy Rule 3017(c), Thursday, December 5, 2019 by 5:00 p.m.,

           CDT is fixed as the deadline by which the holders of claims and interests against the

           Debtor must file ballots accepting or rejecting the Plan.

       4. Pursuant to Bankruptcy Rule 3020(b)(1), Thursday, December 5, 2019 by 5:00 p.m.,

           CDT is fixed as the last day by which creditors and parties in interest must file any

           objections to confirmation of the Plan.

       5. The Debtor must tabulate all acceptances and rejections of the Plan and file a Ballot

           Summary with the Court on or before Wednesday, December 11, 2019 by 5:00 p.m.,

           CDT.

       6. The Debtor must file a Memorandum in Support of Confirmation explaining

           pursuant to 11 U.S.C. § 1129 how the Plan satisfies the requirements for confirmation,

           including evidence of feasibility on or before Wednesday, December 11, 2019 by 5:00

           p.m., CDT.


Dated this the 24th day of October, 2019.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




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